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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                           CASE NO: 1:16-cv-24687-WILLIAMS/Simonton

   EDGARDO LEBRON,

          Plaintiff,
   v.

   ROYAL CARIBBEAN CRUISES, LTD.
   a Liberian Corporation,

         Defendant.
   ________________________/

   PLAINTIFF’S MOTION FOR RECONSIDERATION OF THE COURT’S RULINGS ON
                                          PRIOR INCIDENTS

          Plaintiff, EDGARDO LEBRON (hereinafter “Plaintiff”), by and through undersigned

   counsel, and pursuant to this Honorable Court’s instruction on September 26, 2018 in open court

   for Plaintiff to file a written motion for reconsideration if he wanted it to reconsider its ruling,

   hereby files his Motion for Reconsideration of this Honorable Court’s Ruling excluding evidence

   of prior ice-skating incidents. In support of his motion, Plaintiff states as follows:

                                           INTRODUCTION

          Although Defendant moved for summary judgment on the issue of actual and constructive

   notice, [DE 116 at pp. 8-11], the Honorable Judge Kathleen Williams ruled that “the issues that

   remain for the jury, the issues of fact, have to do with the lace, the dirtiness, as people have

   referred to it, of the ice and the bumpiness or the gouge.” See Transcript from the August 27,

   2018 Pretrial Hearing Before the Honorable Judge Williams, attached hereto as Exhibit 1, at 12:12-

   14 (emphasis added). Prior ice-skating incidents were the only evidence of Defendant’s notice of

   the dangers pertaining to the ice that the Honorable Chief Magistrate Judge considered in her report

   and recommendation on Defendant’s motion for summary judgment. See Exhibit 2. [DE 220 at
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   pp. 16-19]. Therefore, because Plaintiff must prove Defendant’s notice of the dangers pertaining

   to the ice, and because she found that these dangers remained as issues of fact for the jury, the

   Honorable Judge Williams must have found that this evidence of substantially similar prior

   incidents that occurred on the subject vessel or its sister ships with ice skating rinks with a

   substantially similar configuration remained for the jury to consider whether this put Defendant

   on constructive notice of the dangerous conditions.

          For the reasons that will be set our below, Plaintiff respectfully submits that the Honorable

   Judge Williams was correct in finding that the prior incidents Plaintiff was relying on were

   substantially similar, and this Honorable Court’s ruling on September 26, 2018 preventing Plaintiff

   from introducing excerpts of, or questioning Defendant’s corporate representative on, these prior

   incidents was clearly erroneous. Therefore, Plaintiff respectfully submits that this Honorable Court

   should reconsider and reverse its rulings.

                                        LEGAL STANDARD
          There are three grounds justifying reconsideration: (1) an intervening change in controlling

   law; (2) the availability of new evidence; or (3) the need to correct clear error or prevent manifest

   injustice. S.P. Richards Co. v. Hyde Park Paper Co., Inc., No. 811CV01204EAKTGW, 2015 WL

   6445663, at *2 (M.D. Fla. Oct. 23, 2015).

          In the Court’s Order (adopted from the magistrate’s report and recommendation) on

   Defendant’s motion for summary judgment, “[t]he Eleventh Circuit's ‘substantial similarity

   doctrine’ requires a party to provide evidence of ‘conditions substantially similar to the

   occurrence in question’ that ‘caused the prior accident.’” See Report and Recommendation on

   Defendant’s Motion for Summary Judgment, [DE 220], attached hereto as Exhibit 2, at p. 17

   (emphasis added) (citing Jones v. Otis Elevator Co., 861 F.2d 655, 661–62 (11th Cir. 1988)).


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          Notice can be demonstrated through the existence of prior, substantially similar incidents,

   but the “‘substantial similarity’ doctrine does not require identical circumstances, and allows

   for some play in the joints depending on the scenario presented and the desired use of the

   evidence.” Sorrels v. NCL (Bahamas) Ltd., 796 F.3d 1275, 1287–88 (11th Cir. 2015) (emphasis

   added); see Whelan v. Royal Caribbean Cruises Ltd., 2013 WL 5583966, at *2 (S.D. Fla. Aug. 16,

   2013). “The requirement of substantial similarity is relaxed, however, when the evidence of other

   incidents is used to demonstrate notice or awareness of a potential defect.’” Ree v. Royal

   Caribbean Cruises Ltd., 315 F.R.D. 682, 686 (S.D. Fla. 2016) (emphasis added).

          As the Court previously ruled, evidence of prior substantially similar incidents can include

   incidents on other ships in a cruise line’s fleet, as long as the dangerous conditions on those

   ships are sufficiently similar. See Exhibit 2, [DE 220 at pp. 17-18] (citing Taiariol v. MSC Crociere,

   S.A., No. 0:15-cv-61131-KMM, 2016 WL 1428942, (S.D. Fla. April 12, 2016)) (“finding that falls

   were not substantially similar to put defendant on notice where prior incident falls occurred on

   defendant’s ships generally, but did not reveal whether falls occurred on either metal stair

   ‘nosings’ or in theater where plaintiff in that case fell”); see also Cox v. Royal Caribbean Cruises,

   Ltd., No. 10-22232-CIV, 2012 WL 13036848, at *2 (S.D. Fla. Mar. 14, 2012) (Denying Defendant

   Royal Caribbean’s motion in limine to exclude prior incidents merely because the prior incidents

   occurred on sister ships within the same class).

          Finally, as the Court previously ruled, the “proper inquiry regarding whether a cruise ship

   has constructive notice of an alleged dangerous condition based upon prior accidents is not

   whether a defendant had notice of an object or its physical specifications, but whether the

   defendant had notice of a risk-creating condition[.]” Exhibit 2, [DE 220 at p. 18] (emphasis

   added) (citing Gorczyca v. MSC Cruise, S.A., No. 16-15491, 2017 WL 5125561, *2 (11th Cir.

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   2017) (“Defendant had notice that the failure to maintain the ice properly, as alleged by the

   Plaintiff in this case might create an unreasonably dangerous condition.”)) (emphasis added).

   “The admission of such evidence is also subject to the reasonable discretion of the trial court.”

   Jones & Laughlin Steel Corp. v. Matherne, 348 F.2d 394, 400 (5th Cir. 1965).

                                              ARGUMENT

          After considering the evidence of prior substantially similar incidents presented by

   Plaintiff, the Court adopted the report and recommendation and recommended that Defendant’s

   motion for summary judgment on the issue of Defendant’s negligent maintenance of the ice, and

   notice pertaining thereto, should be denied. See Exhibit 2, [DE 220 at p. 16-19]; see also Plaintiff’s

   Evidence of Prior Incidents, attached hereto as Exhibit 3. 1 The Honorable Magistrate Judge

   reviewed the list of prior incidents Plaintiff cited, and found that

          the falls cited by Plaintiff involved “choppy ice on the Studio B ice skating rink”
          [see Exhibit 3 at p. 2], a fall where “there was a small hole 1cm. deep on the ice
          floor that [the passenger] tripped on” [see Exhibit 3 at p. 4], and three separate falls
          on “bumpy ice” [see Exhibit 3 at p. 6], “uneven ice” [see Exhibit 3 at p. 7] and
          “rough ice.” [see Exhibit 3 at p. 7] In all of those falls, presumably, the injured
          party had ice skates on that were issued by RCL, was skating on ice that was
          maintained by the same equipment used in the case at bar, and was maintained
          pursuant to RCL’s policies in the same manner that the ice was maintained in this
          case. In all of those falls, presumably, the injured party had ice skates on that were
          issued by RCL, was skating on ice that was maintained by the same equipment used
          in the case at bar, and was maintained pursuant to RCL’s policies in the same
          manner that the ice was maintained in this case.

   See Exhibit 2, [DE 220 at p. 18] (emphasis added); see also Exhibit 3 at pp. 2, 4, 6, 7.




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     Although there was “one line on [she] believe[d] page 26 where [the Chief Magistrate Judge]
   said; summary judgment is proper as to negligent design and negligent maintenance[,]” in a
   paragraph discussing solely negligent design and construction, The Honorable Judge Williams
   found that “I think she was speaking about generally other than the issues she had identified with
   the laces, the bumps, and the dirt.” See Exhibit 1, at 16:21-17:3.
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             This was the only evidence of notice of the dangers pertaining to the ice cited by the

   Honorable Chief Magistrate Judge, see Exhibit 2, [DE 220 at pp. 16-19], and there is no dispute

   that the ice rinks are configured and maintained in a substantially similar manner to the ice rink at

   issue. Furthermore, it is undisputed that Plaintiff has alleged that similar dangerous conditions on

   the ice, including a gouge/groove caused his incident. See, e.g., Exhibit 2, [DE 220 at p. 4] (citing

   [DE 153 at p. 12)]. Therefore, the Honorable Chief Magistrate Judge correctly found that

   “Defendant had notice that the failure to maintain the ice properly, as alleged by the Plaintiff

   in this case might create an unreasonably dangerous condition.” See Exhibit 2, [DE 220 at p.

   18] (emphasis added) (citing Gorczyca, 2017 WL 5125561, *2).

             The Honorable Judge Williams carefully considered the Honorable Chief Magistrate

   Judge’s “very thorough [report and recommendation]” on Defendant’s motion for summary

   judgment, see Exhibit 1 at 16:3-5, and adopted her report and recommendation. See Exhibit 1 at

   11:5-7. In this regard, the Honorable Judge Williams noted that there was at least one prior

   substantially similar incident, and she found that “there was enough of a genuine issue of fact to

   get us beyond summary judgment on notice and obviously on the matter itself[,]” and that she

   “d[idn’t] believe [she] [was] in a position to gain-say [the Honorable Chief Magistrate Judge]. See

   Exhibit 1 at 16:3-20. Therefore, the Honorable Judge Williams correctly found that “the issues

   that remain for the jury, the issues of fact, have to do with the lace, the dirtiness, as people have

   referred to it, of the ice and the bumpiness or the gouge.” See Exhibit 1 at 12:12-14 (emphasis

   added).

             Therefore, both the Honorable Judge Williams and the Honorable Chief Magistrate Judge

   were legally and factually correct to allow Plaintiff to introduce evidence of the substantially

   similar prior incidents at issue, and this Honorable Court’s rulings to the contrary were clearly

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   erroneous. Plaintiff respectfully submits that this Honorable Court should reconsider and reverse

   its rulings

                                            CONCLUSION

           The Plaintiff, EDGARDO LEBRON, respectfully requests that this Honorable Court grant

   his motion and enter an order allowing him to introduce and elicit evidence of the prior similar

   incidents attached to this motion as Exhibit 3, and allowing him to question Defendant’s Corporate

   Representative on the prior substantially similar incidents which the Corporate Representative

   testified she “could not recall” or alternatively, read to the jury Defendant’s interrogatory-form

   answers pertaining to the prior substantially similar incidents.

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on September 27, 2018, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I ALSO CERTIFY that the foregoing
   document is being served this day on all counsel of record or pro se parties identified on the
   attached Service List in the manner specified, either via transmission of Notices of Electronic
   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who
   are not authorized to electronically receive Notices of Electronic Filing.

                                                                 Respectfully submitted,

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